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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

                                                )
 UNITED STATES OF AMERICA,                      )
                                                )         No. 6:12-CR-53-DCR-HAI-6,7
        Plaintiff,                              )
                                                )
 v.                                             )     RECOMMENDED DISPOSITION OF
                                                )       JOINT MOTION TO SUPPRESS
 TONY C. MONEY, II, a/k/a John Adams,           )
 a/k/a Vernon Forest, and FRANK                 )
 EMMANUEL SLEDGE, a/k/a Sir Sledge,             )
                                                )
        Defendants.
                                                )

                                      *** *** *** ***

       Defendants Tony C. Money and Frank Emmanuel Sledge face separate charges of

conspiracy to distribute oxycodone, conspiracy to distribute methadone, and conspiracy to

distribute alprazolam in violation of 21 U.S.C. § 846, possession with intent to distribute

oxycodone in violation of 21 U.S.C. § 841(1)(a)(1), and knowingly carrying a firearm in relation

to certain of the charged drug offenses in violation of 18 U.S.C. § 924(c)(1)(A). See D.E. 35.

They have filed a Joint Motion to Suppress Evidence, and the United States has filed a response

in opposition. See D.E. 146, 150. Despite the Motion’s acknowledgement of unfavorable

binding precedent, given the multiple arguments presented in the Motion and the requested

evidentiary hearing, the Court addressed the posture created by the Motion during a telephonic

status conference on January 4, 2013. D.E. 151. Because all parties agree that no factual dispute

exists that could warrant suppression and no Fourth Amendment violation occurred based upon

binding precedent, specifically United States v. Skinner, 690 F.3d 772 (6th Cir. 2012), petition
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for cert. filed, ____ U.S.L.W. ____ (U.S. Dec. 26, 2012) (No. 12-7971), and based upon the

findings and reasoning below, the undersigned recommends denial of the Joint Motion.

         The Motion presents several arguments in support of suppression of evidence related to

“searches and seizures” in connection with a search warrant issued on September 28, 2012, by

the United States District Court for the Eastern District of Michigan. See D.E. 146-2. In sum,

the warrant authorized, for a period of thirty days,1 the search of two cellular telephones and the

search/seizure of location information related to those phones, to include “all available E-911

Phase II data, GPS data, latitude-longitude data, and other precise location information, as well

as all data about which ‘cell towers’ . . . and ‘sectors’ . . . received a radio signal from the two

telephones.” See D.E. 146-2 at 2-4. The specific factual background of the investigation prior to

the issuance of the warrant need not be detailed herein, but the affidavit submitted in support of

the application for the warrant is filed in the record as an exhibit to the Motion. See D.E. 146-3.

         According to the United States, the telephones were tracked as they moved from the

Eastern District of Michigan to the Eastern District of Kentucky on September 29, 2012.

Through physical surveillance by law enforcement off of I-75 in Corbin, Kentucky on that date,

an Audi sport utility vehicle with a Michigan plate was observed and Defendant Sledge was

identified as an occupant based upon a previous identification made during a traffic stop on

September 1, 2012. The Audi was stopped by law enforcement for following too close and

improper signaling. Defendant Money was identified and was driving. Defendant Sledge was

identified as well and was a passenger.




1
        The Motion mistakenly states that the thirty-day period began on October 12, 2012. See D.E. 146-1.
October 12, 2012 was not the warrant’s effective date, it was the date set by the issuing judge in the Eastern District
of Michigan by which execution of the warrant was required. See D.E. 146-2.
                                                          2
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        A narcotics dog made a positive alert for the presence of drugs, and the vehicle was

searched. Law enforcement found and seized approximately 3,000 oxycodone 30 mg pills and a

mixture of several thousand additional pills consisting of Xanax (containing the controlled

substance alprazolam) and methadone, as well as a pistol located next to the pills.                        The

telephones described by the warrant were found in Defendants’ possession. Defendants were

arrested, criminal complaints and arrest warrants as to each Defendant were issued by the

undersigned, and the Grand Jury thereafter returned an indictment charging the offenses

described above.

        The Motion requests an evidentiary hearing “to establish the fact that [Defendants] had

an expectation of privacy in the data obtained and the execution of [the]search warrant violated

the 4th Amendment to [the] Constitution” for three separately listed reasons. D.E. 146-1 at 2.

First, the Motion asserts that the affidavit underlying the warrant lacked probable cause to such

an extent that the exception to the exclusionary rule established in United States v. Leon, 468

U.S. 897 (1984) should not apply. Second, without any supporting authority cited, the Motion

asserts that the warrant is “fundamentally tainted” by the inclusion of information gathered

pursuant to wire intercepts authorized by United States District Judge Amul R. Thapar. Third,

without addressing the preliminary showing necessitated by Franks v. Delaware, 438 U.S. 154

(1978), the Motion asserts that paragraph 14 of the affidavit underlying the warrant contained

false “allegations . . . that on September 1, 2012, Mr. Money was a rear seat passenger in a

vehicle stopped by law enforcement in Corbin, Kentucky.”2 Id. at 3. All of these assertions are

made without substantive argument or discussion of the facts. The Motion concludes with an

acknowledgement of the effect of Skinner, and by stating “[t]his motion is filed to preserve the

2
         Notably, paragraph 14 of the Affidavit does not specifically identify Defendant Money as a passenger in
the vehicle.
                                                       3
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issue in light of the possibility the United States Supreme Court decides to hear argument and

issue a ruling on this Fourth Amendment argument.” D.E. 146-1 at 3.

       The United States contends that, under Skinner, Defendants have no reasonable

expectation of privacy in GPS or similar location data from a cellular telephone being voluntarily

used while traveling on public thoroughfares, so there can be no violation of Defendants’ Fourth

Amendment rights to result in suppression. The United States also argues probable cause

supported warrant issuance, no basis in law or fact exists to challenge the inclusion of

information obtained through the wire intercepts, the argument as to false allegations in the

affidavit is so unclearly stated as to require denial, and that Defendants have wholly failed to

make the preliminary showing required to conduct a hearing under Franks v. Delaware. D.E.

150.

       During the January 4, 2013 conference call, the Court first confirmed review by defense

counsel of the response in opposition filed by the United States. Counsel for both Defendants

represented that, after discussion with counsel for the United States prior to the teleconference:

           1) if Skinner remains good law, Defendants will not prevail on the Motion “on any

               level” because there is “no doubt” that Skinner controls all arguments presented in

               the Motion;

           2) there is no need for an evidentiary hearing on the Motion;

           3) the Motion was filed merely to protect Defendants if the Supreme Court alters the

               law established by Skinner;

           4) defense counsel had consulted with their clients about effect of Skinner; and

           5) a ruling by the Court based upon the briefs submitted is appropriate.



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        The facts and law sufficient to resolve the Motion are not in dispute. The Fourth

Amendment provides,

        The right of the people to be secure in their persons, houses, papers, and effects,
        against unreasonable searches and seizures, shall not be violated, and no Warrants
        shall issue, but upon probable cause, supported by Oath or affirmation, and
        particularly describing the place to be searched, and the persons or things to be
        seized.

U.S. Const. amend IV. “[A] Fourth Amendment search occurs when the government violates a

subjective expectation of privacy that society recognizes as reasonable.” Kyllo v. United States,

533 U.S. 27, 33 (2001). Here, as in Skinner, Defendants’ cellular telephones were tracked

allowing law enforcement to locate them and put in motion the events leading to the stop of their

vehicle, the positive alert by the narcotics dog, and the search of their vehicle. See Skinner, 690

F.3d at 774-76. The location data search herein was warrant-backed. Even if it were not,

however, as in Skinner, “[t]here is no Fourth Amendment violation because [Defendants] did not

have a reasonable expectation of privacy in the data given off” by their cellular telephones and

therefore there was no search within the meaning of the Fourth Amendment concerning that data.

Id. at 777. Here, as in Skinner and as recognized by the parties, “suppression is not warranted[.]”

Id. at 781.

        For the reasons stated, particularly the acknowledged binding effect of Skinner, the

undersigned RECOMMENDS that the District Court DENY Defendants’ Joint Motion to

Suppress Evidence (D.E. 146).

        The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of that statute. As defined by § 636(b)(1) and

Federal Rule of Criminal Procedure 59(b), within fourteen days after being served with a copy of

this recommended decision, any party may serve and file written objections to any or all portions

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for de novo consideration by the District Court. The parties should consult the aforementioned

statute and rule for specific appeal rights and mechanics. Failure to object in accordance with

Rule 59(b) waives a party’s right to review.

       This the 14th day of January, 2013.




                                               6
